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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                                    Chapter 11
    In re:
                                                                    Case No. 23-11069 (CTG)
    YELLOW CORPORATION, et al.,1
                                                                    (Jointly Administered)
                                     Debtors.
                                                                    Re: Docket No. 794

 CERTIFICATE OF NO OBJECTION REGARDING MOTION OF THE OFFICIAL
COMMITTEE OF UNSECURED CREDITORS OF YELLOW CORPORATION, ET AL.,
 FOR ENTRY OF AN ORDER CLARIFYING THE REQUIREMENT TO PROVIDE
ACCESS TO CONFIDENTIAL OR PRIVILEGED INFORMATION AND APPROVING
   A PROTOCOL REGARDING CREDITOR REQUESTS FOR INFORMATION

             The undersigned hereby certifies that, as of the date hereof, no answer, objection or other

responsive pleading has been received to the Motion of the Official Committee of Unsecured

Creditors of Yellow Corporation, et al., for Entry of an Order Clarifying the Requirement to

Provide Access to Confidential or Privileged Information and Approving a Protocol Regarding

Creditor Requests for Information [Docket No. 794] (the “Motion”) filed on October 9, 2023. The

undersigned further certifies that after reviewing the Court’s docket in these cases, no answer,

objection, or other responsive pleading to the Motion appears thereon.

             Pursuant to the Notice of Motion of the Official Committee of Unsecured Creditors of

Yellow Corporation, et al., for Entry of an Order Clarifying the Requirement to Provide Access to

Confidential or Privileged Information and Approving a Protocol Regarding Creditor Requests

for Information [Docket No. 794-2], objections to the Motion were to be filed and served no later

than October 16, 2023, at 4:00 p.m.



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  A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of the Debtors’ principal place
of business and the Debtors’ service address in these chapter 11 cases is: 11500 Outlook Street, Suite 400, Overland
Park, Kansas 66211.
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       It is hereby respectfully requested that the Order attached to the Motion be entered at the

earliest convenience of the Court.

 Dated: October 17, 2023
 Wilmington, Delaware

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     COPLAN & ARONOFF LLP
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 Counsel to the Official Committee of Unsecured Creditors




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